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       Please feel free to contact me if you have any questions.


       Thank you,




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                      Case 1-18-43118-ess        Doc 62       Filed 01/10/19          Entered 01/10/19 13:36:31
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      Joan Powe-Dopwell, MBA, MA

      Administrative Supervisor
      Facilities Engineering

      Northwell LIJ

      270-05 76 th Ave

      New Hyde Park, NY 11040

      Tel: (718) 470-7267

      Email: iP.owedoP.we@northwell.edu



      Northwell Health
      Visit us at Northwell.edu




      Sent from my iPhone


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             Case 1-18-43118-ess                                     Doc 62          Filed 01/10/19                      Entered 01/10/19 13:36:31
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       FW: [EXTERNAL] Death certificate

        From: Dopwell, Joan (Jpowedopwe@northwell.edu)

       To:    dannypersaudl@yahoo.com

       Cc:    jkdopwell@aol.com

       Date: Tuesday, January 8, 2019, 11:45 AM EST .



       Please give these death announcement to my aunt, Valerie Lowe, daughter of our beloved, Orpha Williams,
       aunt to our dear Elroy Walker who will be buried 1/9/19 in St. Mary, Jamaica. (Please see attachment).




       From: Aol Email [mailto:jkdopwell@aol.com]
       Sent: Tuesday, January 08, 2019 11 :39 AM
       To: Dopwell, Joan <Jpowedopwe@northwell.edu>
       Subject: [EXTERNAL] Death certificate



       External Email. Use Caution .




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             Case 1-18-43118-ess            Doc 62      Filed 01/10/19      Entered 01/10/19 13:36:31


                 A Tribute to My dearly beloved Cousin, Elroy Walker aka "Ellie"

Good afternoon families, friends, love ones and well-wishers. My name is Joan Dopwell, I
am Ellie cousin from New York.

On behalf of the family in New York, let it be acknowledged that the gratitude we have for your
illustration of support for "Our Ellie" is inexpressible. It warms my heart to see the number of
people who loved my dear cousin. Thank you, we appreciate your presence.

Death is by no means the greatest loss in life, rather, the greatest loss is what dies inside of us
while we live. Mans only true possession is in his character, and only a man's character can
attest to his life. When he can no longer speak for himself. Not his worldly possession, not his
titles or his profession; but only his character. The man who possesses an honorable character
is worthy for a tribute that can depict his time spent on earth.

When some people look at Ellie, they may have seen a tough guy. They may have seen a strong
guy of few words.

Ellie was one of my favorite cousins. We shared a bond that intertwined us from the root with
the blood of our great great grandmother Rosetta Huggins (aka Rosetta Hoilett). We shared
innumerable special times, special memories and an exceptional love that connected us as
family. Ellie's mother, Aunt Elaine was my grandmother, Orpha William sister. Ellie was
devastated when he lost his late dear sister Polly. He took very good care of his family and
nurtured a host of nieces and nephews.

Ellie was extremely ambitious, assiduous, disciplined, loving and dedicated. He was always
welcomed into my home whenever he came to NY to work and vise a versa. I was welcome to
visit him whenever I visited Jamaica.

Just at a glance at Ellies' character, he was a no-nonsense straight forward individual. He was
responsible, caring, zealous and purposeful. He stayed firm in his morals and commitment to
serve the lord. He went above and beyond to provide for his family and created a strong
foundation for his children and mother. As I reflect, I remember "Ellie" working tirelessly in
NY in the freezing cold. He sacrificed warmth and comfort to build a house for his family. He
relied on his god given strength because he had no one else to provide for him. He built his
house by the sweat of his brows and his own two hands in order to create a legacy for his
children and mother.

Ellie was always serious about life and I always admired his maturity. He was young, yet goal
oriented. This was an indisputable demonstration of his intellect.
My dearly beloved cousin, you will be missed, but the memories are forever engraved in our
hearts. You are the breath of fresh air that came into our lives with love and unique qualities.
I will miss your early morning Saturday calls. We came from the same root, the same family
tree,
Into the world we sprouted its destiny. It's cousin to cousin, a special thing. A closeness
(bond) to which we are tied.
You have always been there to laugh with me or just to talk. You were a phenomenal part of my
life I will always dwell in my heart, cousin, you will always be special to me. Our love for you
transcends your mortal being into eternity.
Ellie touched many lives and will be missed but never ever forgotten!

To be absent from body liis to be present with tlie lord. ...
Scripture reading ... 1 Tlies. (4:13-18)
             Case 1-18-43118-ess           Doc 62      Filed 01/10/19      Entered 01/10/19 13:36:31
13But I would not have you to be ignorant, brethren concerning those who are asleep, that you
may not grieve as others do who have no hope.
For since we believe that Jesus died and rose again, even so, through Jesus. God will bring
with him those who have fallen asleep.
For this we declare to you by the word if the Lord, that we who are alive, who are left until the
coming of the lord, shall not precede those
For the Lord himself will demand from heaven with a cry of command, with the archangel's
call, and with the sound of the trumpet if god, and tJ,e dead in C!,rist will rise first; tJ,en we
wl,o are alive, wl,o are left, shall be caught up together with them in the clouds to meet the
Lord in the air; and so we shall always be with the lord
TJ,erefore comfort one anotl,er wit!, tl,ese words. Amen!

PS Big hugs and kisses from your favorite cousin Joan and family with much love!!
 Rest In Piece, God Bless!


Respectfully,

Joan Dopwell & Family
                     Case 1-18-43118-ess                             Doc 62         Filed 01/10/19    Entered 01/10/19 13:36:31




                                                                                             12/19/2018        OUR INFO

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                                            - Coppell, TX 75019
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                                                                                                               www.mrcooper.com
 CHANGING THE FACE OF HOME LOANS
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 DAVID SALMON
 11143130TH ST
 SOUTH OZONE PARK, NY 11420                                                                                    PROPERTY ADDRESS
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Dear David Salmon:                                                                                                                              e-;
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                                                                                                                                                ;;
Why am I receiving this letter?                                                                                                                 ;;
                                                                                                                                                ;;
We recei.ved your application for loss mitigation options and supporting or supplementary documentation (the "Bonower                           C:
Response Package") you have provided. We have conducted a review of the documentation supplied by you and your response                         C
appears to be complete as of2018-12-18.                                                                                                         "'C'C'
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The evaluation period for loss mitigation options has now begun and is generally 30 days. The evaluation period for loss
mitigation options has now begun and i~,g!'lneralJ_y 30 days. Because you have timely: submitted a complete Borrower Response ,Pi"
Package, you are entitled to cettaiiiforecfosru:e plotectforisduring the evaluation perioctandwewTJiiiofbiin"gainotion f01· reJ4!f
fr~ th~~ntrntayoefor~iii~~-your·c~~I~PPlicatl.iiii-:--------                                                     --==-=-- i ,---------
During the evaluation period, we will closely review the contents of the Borrower Response Package and determine whether or
not you are eligible for loss mitigation options based upon that information. If we determine at a: later date that we need
additional information to complete our evaluation of your application, we will request the acfditional information from you and
provide you with a reasonable opportunity to submit it. 11). such case, the evaluation process may take longer and the foreclosure
protecti.ons could end ifwe do not receive the information as requested..
Please note that you may be entitled to additional protections under State or Federal law.

Once we have concluded our evaluation, we will send you a notification informing you of the loss mitigation options which are
and are not available to you. If you qualify for a loss mitigation option, you will have 14 days from your receipt of the offer to accept
or reject the offer. If you do not respond within 14 days, the offer may be deemed as rejected. There is no guarantee that you will
qualify or receive any loss mitigation options. Depending upon the programs for which you are evaluated, we may be required to
obtain third party approval to determine your eligibility.

What do I need to do?·
No action is required. This letter is for informational purposes only.
.If you have any questions, your Dedicated Loan Specialist is Kristi Berry and can be reached at (866)-31.6-2432 or via mail at PO
'Box 619097, Dallas, TX 75261. Our hours of operation are Mol?craV through Thursday from 7 ~-p.m. (CT l, F'nday frmn 7 am.
 to 7 p.m. (CT) and Saturday from 8 a.m. to 12 p.m. (CT). Visitus on the web at www.mrcooper.com for more information.
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Sincerely,
            \/                                      \1
Mr.Cooper
                      Case 1-18-43118-ess               Doc 62     Filed 01/10/19          Entered 01/10/19 13:36:31
             mr.



                                                                                                                                                  -=
           Contact us at 866-316-2432 or in writing at PO ~ 7 , Dallas, TX 75261 no later than 1/5/19 to indicate your intent to
           ace~ this o f f ~ h o r t sale. Ifyou i~icate your intent t9.s!-cce.J.l!: this offer we will defer o ~ e e k
                                                                                                                                                  =
                                                                                                                                                  =
           Bankn~rt app:roval to take foreclosure action on the loan u n t ~ while you attempt to sell your ho~e. Ifyou do
           not contact us by.__~to accept thi~r, and you have not ~ e d ili'1other l o ~ n option or a p ~ e n i a l of J£

           foreclosure sale mmi:.nccur.                       -                     ---
           a modification, we may take stellll to obtain Bankruptcy Qourt approval to start or continue foreclosure Proceedings and a
               ~                                                                                    ~~

  @t,- 2. If you have not already clone so, you will need to contac~·eal ~te agent and list the property for sale. If you wish us to work ·~
           directly with your real estate agent or another party on yo~half, you will need to provide a Third Party Authorization to us.    g
           You can obtain a Third Party Authorization form on our website at www.mrcooper.com.                                             .%
   ~            o If you need help finding a real estate agent, contact your Single Point ofContact (SPOC) who can refer you to a listing   l8
                                                 ~                                                                                          ~
~{;               agent in your area.

           www.equator.com to start the Sho1t Sale-review.
                                                                           -~
~ ~ Ifyou have not already done so, have your real estate agent initiate a Short Sale case in Equator (our system ofrecor~) at
~                                                                       ~
           Ifyou have not already don~ so: have your real estate agent provi
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                                                                                  e followi~g documents in E;~~~~.~~~~ they are ~vailable:
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            . o ~ul~iple Listing Service (MLS)                                             (Q_~       -..                                  ~
                o L1s~ement
         ~ o Purchase Agreement (if you have an offer)
                                                                                         <.                                                       ·*
       .       /5 Pro?osed Closiilg::e.i~~·e or Settleme~t Staten1;ent (if you have an offer)
       ~ .   .
                o Buyer's-Proof
                        , - - of F u ~ 1.}ave      . an offer)        .
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                  Note: Based on Investor requirements, additional documentation may be required
                              -          .     C----·                                  .




        We will review any offers that are received for acceptability. Please be prepared to allow access to the propertffor an interfor---:-
        valuation of your home.

        In some cases, a short sale auction may be required as part of the evaluation process to either help find an offer or validate an offer
        you already have. If an auction is required, you will be given further information and asked to sign a Short Sale Auction
        Agreement.
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        Ifyou are not able to obtain a purchase offer that is acceptabkl to us by.2/5l19, you may continue your short sale effort, but we may

        ifthereis adequate.ti~~ to evaluate
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        t ~ B a n k r u p t c y . C m . u ; ~ ~ r continue foreclo~ute. We may review ariy p1lr"chase'otfer submitted, but only
                                             the o ~ r to ___,  tl~eclosure sale date.       ,-------~

        NOTE: Cancellation of debt 111ay have tax consequences. Please consult your tax advisor to discuss potential tax
       ••iconsequences.



               B. Deed-in-Lieu/Mortgage Release: A Deed-in-Lieu, also called a "Mortgage Release", permits a borrower to
               voluntarily transfer the property to the owner of the mortgage to satisfy the debt. Depending upon applicable law and
               investor requirements, the borrower may be required to pay fonds to reduce the difference between the amount owed on
               the loan and the value of the property being transferred..

        Based on a carefol review of your information, you have been conditionally approved to pursue a Deed-in-Lieu of
        foreclosure/Mortgage Release.

        If you are interested in transferring the property through a Deed-in-Lieu/Mortgage Release, please follow the steps
        below.
                   Case 1-18-43118-ess                             Doc 62           Filed 01/10/19   Entered 01/10/19 13:36:31



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                                                                                              12/22/2018       OUR INFO
                                                                                                               ONLINE


  CHANGING THE FACE OF HOME LOANS
                                               8950 Cypress Waters Blvd.
                                               Coppell, TX 75019                              ii               www.mrcooper.com

                                                                                                               YOUR INFO

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  11143130TH ST
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                                                                                                               DAVID SALMON
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 Dear DAVID SALMON:                                                                                                                                            zz
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                                                                                                                                                               z
 VVe have reviewed your application for mortgage assistance. Please find a summi:iry of the programs for which you were evaluated                              ~
 below, based on the eligibility requirements of U.S. Bank (BOA-LaSalle National Bank), the owner/guarantor/tmstee of the                                      ~
                                                                                                                                                               II'.
 mortgage loan. U.S. Bank (BOA-LaSalle National Bank) requires us to review your application for the options available to you in a                             II'.
                                                                                                                                                               C
                                                                                                                                                               CT.
 certain order. This means that if you are approved for an option higher in the order, you may not qualify for options that are lower
 down on the list.

  Please note that we have reviewed you for options that would allow you to keep thapro~ and for options that would mean that
  y01,1 would not keep the property. Although you may have requested a specific loss mitJ.gaticin option, we have evaluated you for all
· other available options to ensure you have sufficient information to make an informed decision.                ·

       o   Proprietary Modification - Declined
       e Short Sale - Conditionally Approved
       • Deed In Lieu - Conditionally Approved
 Detailed information about the available loss mitigation programs and our analysis of your eligibility are provided below. You may
 find you are approved, or conditionally approved, for several different options. If you are eligible for more than one option, you
 may only accept one offer. Please note the deadlines to respond to each offer because if you do not respond in time, we w:ill treat
 that as a rejection of the offer. T o _ ~ ? a t i o n de~ yo~t a.12~:yJQe sp~~~ deadl~e.

 Please be sure to read the instmctions related to each option carefully. Please note that, unless specified otherwise, the
 instructions in each section relate only to the option discussed in that section.

 I. Retention Option: Retention options allow a borrower. to continue to malce payments and remain in the property.

           A. Modification: A modification changes the terms of the loan to cure past-due amounts and usually provides for more
           affordable payments.

 Modification Program Review

 You were evaluated for mortgage payment assistance based on the eligibility requirements of U.S. Bank (BOA-LaSalle National
 Bank), but were declined for the following program(s).



 Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLC is doing business as Nationstar Mortgage LLC d/b/a Mr.
 Cooper. Mr. Cooper is a registered service mark of Nationstar Mortgage LLC. All rights reserved.                              ·
 Please be advised this communication is sent for informational purposes only and is not intended as an attempt to collect, assess, o r ( a t
 recover a claim against, or demand payment from any individual protected by the U.S. Bankruptcy Code. If this account has been
 discharged in a bankruptcy proceeding, be advised this communication is for informational purposes only and not an attempt to collect a           -
 debt a~ainst you· however, the servicer/lender reserves the right to exercise the le al rights only against the property securing the loan        -
 obligation, including the right to foreclose its lien under appropriate circumstances. ~othing in this communication shall be construed as an
 attempt to collect against the borrower personally or an attempt to revive personal liability.                                                 5i¼Mf1\'~l~
 If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the
 loan) that has not assumed, or otherwise become obligated on the debt, this communication is for informational purposes only and is not an
 attempt to collect a debt from you personally.
                                                                                                                                                 c:n en   T\
             Case 1-18-43118-ess           Doc 62      Filed 01/10/19        Entered 01/10/19 13:36:31


    mr.

                                                                                                                                    -
                                                                                                                                    -
CHANGING THE FACE OF HOME LOANS

                                                       Notices of Error:

If you believe an error has been made with respect to the mortgage loan, you should provide to us in writing the following
                                                                                                                                     -=
information: Your name (and the name of the borrower, if you are an authorized third party), the loan account number, and the
error you believe has occurred To submit a notice of error, you must send this information to the following address:                -=
                                                           Mr.Cooper
                                         Attn: Notice of Error/Request for Information
                                                         PO Box 619098
                                                     Dallas, TX75261-9741

                                                  Requests for Information:

To request information regarding the account, you should provide to us in writing the following information: Your name (and the
name of the borrowe1; if you are an authorized third party), the loan account number, and the information you are requesting with
respect to your mortgage loan. To submit a request for information, you must send this information to the following address:

                                                           Mr.Cooper
                                         Attn: Notice of Error/Request for Information
                                                         PO Box 619098
                                                     Dallas, TX75261-9741
              Case 1-18-43118-ess           Doc 62       Filed 01/10/19       Entered 01/10/19 13:36:31


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CHANGING THE FACE OF HOME LOANS
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New York Residents: Nationstar Mortgage LLC d/b/a Mr. Cooper is licensed by the New York City Department of'Consumer
Affairs License Number: 1392003. If you believe a Loss Mitigation request has been wrongly denied, you may file a =
complaint with the New York State Department of Financial Services at 1-800-342-3736 or www.dfs.ny.gov.              ==
New York Residents Income Disclosure: If a creditor or debt collector receives a money judgment against you in court, state
and federal laws may prevent the following types ofincome from being talren to pay the debt: supplemental security income (SSI);
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social se·curity; public assistance (welfare); spousal support, maintenance (alimony) or child support; unemployment benefits;
disability benefits; workers' compensation benefits; public or private pensions; veterans' benefits; federal student loans, federal
student grants, and federal work study funds; and ninety percent of your wages or salary earned in the last sixty days.
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CHANGING THE FACE OF HOME LOANS



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                                                            Notices of Error:                                                         ---
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If you believe an error has been made with respect to your mortgage loan, you should provide to us in writing the following
information: Your name (and the name of the borrower, if you are an authorized third party), the loan account m1mbe1; and the
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error you believe has occurred. To submit a notice of error, you must send this information to the following address:
                                                            ---------- -------.     --- ---
                                               _/           Mr. Cooper           ·----...           ,'
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                                           ,· Notice of Error/Request for Information                  ")                                 I!)
                                         (                 PO Box 619098                                /                                 C\i
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                                         \            Dallas, TX 75261-9741             /            .·
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                                                     Requests for Information:                                                            C\J
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To request information regarding your account, you should provide to us in writing the following information: Your name (and           z
the name of the borrower, if you are an authorized third party), the loan acc:::ount number, and the information you are requesting    z
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with respect to your mortgage loan .. To submit a request r9r.information, you must send this information to the following address:
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                                                  ._.,.-      Mr. Cooper                                                               0)

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                                                             PO Box 619098
                                                         Dallas, TX 75261-9741
               Case 1-18-43118-ess           Doc 62       Filed 01/10/19       Entered 01/10/19 13:36:31


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CHANGING THE FACE OF HOME LOANS



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New York.Residents: Nationstar Mortgage LLC d/b/a Mr. Cooper is licensed by the New York City Department of Consumer
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New York Residents Income Disclosm·e: If a creditor or debt collector receives a money judgment against you in comt, state
and federal laws may prevent the following types of income from being taken to pay the debt: supplemental security income (SSD;       (0
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social security; public assistance (welfare); spousal suppo1t, maintenance (alimony) or child support; unemployment benefits;         0
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disability benefits; workers' compensation benefits; public or private pensions; veterans' benefits; federal student loans, federal   '?
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student grants, and federal work study funds; and ninety percent of your wages or salary earned in the last sixty days.               lO
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               Case 1-18-43118-ess              Doc 62      Filed 01/10/19        Entered 01/10/19 13:36:31

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CHANGING. THE FACE OF HOME LOANS



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1. Contact us at 866-316-2432 or in writing at PO Box 619097, Dallas, TX 75261 no later than 1/5/19 to indicate your i~tent to
   accept this offer to pursue a Deed In Lieu/Mortgage Release. If you indicate your intent to accept this offer we will not refer
   your loan to foreclosure, or if your loan has been referred to foreclosure, we will suspend the next action in the foreclosure
                                                                                                                                          -
   proceedings. If you do not contact us by this date to accept this ,offer, and you have not accepted another loss mitigation
   alterna~~-m:.J!ppealE:lgJmr denial of a modification, or if you accept but we are una~_:>!!P..!~e tl~~ _P__s,ed.InJ..,ieu/..Murtgage
   Release within 45 days of your acceptance, we may start or continue with the foreclosure process and a foreclosure sale may
   occur.
2. Ifyo1, have not already done so, go to https://www.mrcooper.com/reference_documents/statemenLoLinfonnation.pdfto                         "<t

   obtain a Statement ofinformation form. You can also contact your Single Point of Contact and you will be provided with a copy
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   of the form. Make sure all Borrowers on the mortgage have completed, and signed the Statement oflnformation. Please submit               C?
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   the Statement ofinformation Form as-soon as possible. This provides us with important additional infunnation that we need                I!)
                                                                                                                                            I!)

   to start the _Deed-in-Lieu/ Mortgage Release final review. ~ -                                      ~                                    N
        o Online: www.mrcooper.com                                                                                                          0
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        o Email: modification.assistance@mrcooper.com                                                                                       zz
        o Fax: 214-488-1993              ~                                                                                                  z
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        o Mail: Attn: Loan Modification Processing Unit -PO Box 619097, Dallas, TX 75261                                                    C\J
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This approval is conditioned upon a clear title, and if tl ere are any junior lienholders, they must release their interest in the          :g
                                                                                                                                            O>
property. You and any other occupants will be required to v · te the property and must leave it in broom swept condition, free of
trash, debris or damage, and all personal belongings must be rem ed. You will need to provide access so that"we can conduct an
interior inspection of the property. The completion of the Deed-in- · u/Mortgage Release is still subject to investor and our
guidelines.

NOTE: Cancellation of debt may have ta..-,,:: consequences. Please consult your tax advisor to discuss potential tax
consequences.

                                   Additional Information Related to All Loss Mitigation Options

Automated valuation only (electronic, no printed document): An automated valuation was ~evelo2ed in connection witl:J.
yo~r ap.~ion for _loss ~ o n . !'he ~rgperty val4j!t~rovidec~-to ~nically was $582,243.09. There is rio available ', ·
w~ssociated~ n .                                      -~                                ~ L_) f,,,,,.--5         L. ::,,..<Yb
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Visit us on the web at www.mrcooper.com for mo1·e information.

Notice: The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants
on the basis of race, color, religion, national origin, sex, marital status, age (provided the applicant has the capacity
to enter into a binding contract); because all or part of the applicant's income derives from any public assistance
program.; or because the applicant has i11 good faith exercised any right under the Consumer Credit Protection Act.
The federal agency that administers compliance with this law concerning tbis creditor is: Federal Trade
Commission, Equal Credit Opportunity, Washington, DC 20580.                            ·

If you have any questions, your Dedicated.Lo.au.fu?ecialist is Kri;;kerry and can be reached at (8661::31§:2432 or via_mail at PO
                              ~-
Box 619097, Dallas, TX 7 5 2 6 ~ o f operation are Monday.thro_ugnThursday 7 am to 8 pm (CT), Friday 7 am to 7 pm (CT)
                                                                              ,,.,,.------ .. ·
and Saturday 8 am to 12 pm (CT), Visit us on the web at www.mrcooper.com for mo1~ information.

Sincerely,

Mr.Cooper
                        Case 1-18-43118-ess                         Doc 62            Filed 01/10/19            Entered 01/10/19 13:36:31

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      CHAMGIMG THE FACE OF HOME LOANS




          o    Proprietary Modificatio11 - Declined
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              • De11ial R~:_:::c1:='e~n-t-M--c-o-n-t:--hl:-y-:P~a-yi_n_e-::~ t'-::R~e-d~u-c-ti~o-n-·------.._
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               We are unable to offer you a modification because in performing our underwriting of a potential modification we could not
               reduce your principal and interest payment.
                ·_         ~\_                       ~
      Please note, as the servicer of the loan, we are responsible for responding to any questions related to investor requirements or the    (\J
                                                                                                                                              C\i
      review of your request for assistance.                    /.,,-~                                                                   ·    a
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     Right to Appeal                                                       ~                                                                  I!)
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                                                                                                                                              I!)
     You have the right to app~ur loan modification-,den ~l within 30 calendar days from the date of this notice. The appeal must
                           - - -~.         -~----f--,----½'--~-----=---___...;::,.----..._       - . . ----::::=---~
(r11 be in writing, state that you are reguesting an app al of ou · cis.ion, and mu~_en torneinailing address below. You must
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L~' i n c ! u d ; ~ a' l y ~ r o p e 0 Y address, and .mortgage loan~ e r . P l e ~ a s i s for your dispute, and
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     include any documpntation you believe is relevant
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                                                       to the appeal, such as property valuation or proof.bf income.                          z
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                                                                                Mr.Cooper                                                     ~
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                                                               Attn: Notice ofError/Request,for Information                                   I!)
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                                                                              PO Box 619098
                                                                           Dallas, TX '75261-9741

      If you elect to appeal, we will provide you a written notice of our appeal decision within 30 calendar days ofreceivingyour appeal.
      Our appeal decision is final, and not subject to further appeal.

     II. Non-Retention bptiori: A non-retention opt1on allows aborrowe1· to transftTonout:~fiheir prop~rty ;1 tl;;;t goii1g-th~o~~gh
      foreclosure. Non-retention options include Short Sales or Deeds-In-Lieu (sometimes known as a Mortgage Release)

               A. Short Sale: This option pennits a borTower to sell their home for less than the balance remaining on the mortgage loan.
               Depending upon applicable law and investor requirements, a borrower may or may not be required to pay fonds to reduce
               the difference between the amount owed and the approved purchase price.

      Based on a careful review of your information, we are offgriugyrn-Len opportunity to pursue a short sale.,~ubiect t<U,he cm1ditions )
      set forth below. A final decision on the short s'iie is c?ntingent upon our review of tl?,e purchase c o n t ~ e
      Investor requirements. If the p ~~ntract is acceptable, you ~ceive a written final approval and closing information. if
      fuepurchase contract is unacceptable, we will notify you that the Short Sale is not approved. ---=--                ·
                                                           ~

      If you are interested in selling your property through a Short Sale, please follow the steps below.
                    Case 1-18-43118-ess                             Doc 62           Filed 01/10/19   Entered 01/10/19 13:36:31


     mra                                                                                      12/19/2018        OUR INFO

                                               8950 Cypress Waters Blvd.                      ~                 ONLINE

                                               Coppell, TX 75019                              ~                 www.11u·coope1·.com
CHANGING THE FACE OF HOME LOANS
                                                                                                                YOUR INFO                                         -
                                                                         li1                                    DEBTOR(S)
                                                                                                                DAVID SALMON
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5232 1 MB 0.424           T16 P1       AUTO        903340.2-NNNN-30152702
                                                                                                                                                                  =
 DAVID SALMON
 11143130TH ST
 SOUTH OZONE PARK, NY 11420                                                                                     PROPERTY ADDRESS
                                                                                                                111-43 130TH ST                                   .,...
                                                                                                                SOUTH OZONE PARK, NY 11420                        c\j

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Dear David Salmon:                                                                                                                                                0
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Why am I receiving this letter?                                                                                                                                   z
We received your application for loss mitigation options and supporting or supplementary documentation (the "Bon-ower                                             z
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Response Package") you have provided. We have conducted a review of the documentation supplied by you and your response                                           ci
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appears to be complete as of 2018-12-18.                                                                                                                          C')
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The evaluation period for loss mitigation options has now begun ~.!J,d_is generally 30 d'!!,YS. The evaluation period for loss
mitigation options l~as now beg_u~ and i~e_neraj.J;Y 30 ~ Be?au~~.Y~~vt: time.lY; submitted a_ complet_e Borrow~r Respor:se ~
Package, you are entitled tocertam foreclosure protect10ns durmg the evaluat10n periodandwe will not brmg a motion for reh~f
fi~ti-cstaybefc)r~!~-u.atmj'YOUrco~~~                                                                 ~ =-= -               1
During the evaluation period, we will closely review the contents of the Borrower Response Package and determine whether or
not you are_ eligibJe forJo~s__ mitig~tiQn 02:1:io11s _pa~~~- !:!2.9.l)-_th~t Jr!fqnnatiQ__n,.Jf _yv_e detenp.ige __at a_lates_date th~t -~~-.ne~d, ..:. " .,
addfffo:iiaf infornialfon' to complete oui· evaluation of your applicatiori; we will request the additional information froiu you and
provide you with a reasonable opportunity to submit it. In such case, the evaluation process may take longer. and the foreclosure
protections could end ifwe do not receive the information as requested.

Please note that you may be entitled to additional protections under State or Federal law.

Once we have concluded our evaluation, we will send you a notification informing you of the loss mitigation options which are
and are not available to you. If you qualify for a loss mitigation option, you will have 14 days from your receipt of the offer to accept
or reject the offer. If you do not respond within 14 days, the offer may be deemed as rejected. There is no guarantee that you will
qualify or receive any loss mitigation options. Depending upon the prog1·ams for which you are evaluated, we may be required to
obtain third party approval to determine your eligibility.

What     do I need to do?·
No action is required. This letter is for informational purposes only.

If you have any questions, your Dedicated Loan Specialist is Kristi Berry and can be reached at (866)-31.6-2432 or via mail at PO
Box 619097, Dallas, TX 75261. Our hours of operation are Moircra'"y through Thursday from 7 ~ 8 p.m. (CT). F'nday fr0111 7 a.m.
to    7 p.m. (CT) and Saturday from 8 a.m. to 12 p.m. (CT). Visit us on the web at www.mrcooper.com for more information.
 ,_--:::_......,,..
            V
Sincerely,                                          V
Mr.Cooper




Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLC is doing business as Nationstar Mortgage LLC d/b/a Mr.
Cooper. Mr. Cooper is a registered service mark of Nationstar Mortgage LLC. All rights reserved.
Please be· advised this· communication is sent for informational purposes only and is not intended as an attempt to collect, assess, o r ( i r
recover a claim against, or demand payment from any individual protected by the U.S. Bankruptcy Code. If this account has been
discharged in a bankruptcy proceeding, be advised this communication is for informational purposes only and not an attempt to collect a            -
debt aqainst you; however, the servicer/lender reserves the right to exercise the legal rights only against. the property securing the loan        -
obligation, incluaing the right to foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as an
attempt to collect against the borrower personally or an attempt to revive personal liability.                                                  5iw~-~il'~ltfl/
If you are a successor in interest (received the property from a relative through- death, devise, or divorce, and you are not a borrower on the
loan) that has not assumed, or otherwise become obligated on the debt, this communication is for informational purposes only and is not an
attempt to collect a debt from you personally.
                                                                                                                                                      QQ   0
                              Case 1-18-43118-ess                                           Doc 62                     Filed 01/10/19                       Entered 01/10/19 13:36:31
                                                                        RESIDENTIAL PROPERTY DATA SECTION (PDS) ·
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    MULTIPLE
    LISTING
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        Bulkhead            D Docking Rights: I I I I I I I Beach Rights
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                                 0              *Taxes (w/o exempt.):·                      Additional Village Tax~s: I I I I I I 1· I
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         Handicap Access Desc.:
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                                                      *Basement (Crawt-Full-Part-fvone-Opt): I '"4,t-1 £.I I Finished Bsmt (P-Y-N): ~                               A
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                    Skylight:    •
         Green Features (YorNJ: D Green Desc.
                                              Appearance:               I   F'~ e le I                           1·    1.·      I   I    I

         Floor Description: - /.- 0 / A. ,,.         Y              A

         Bsmt/Subfloor:           "t..-,.._,  '~ 0 ·                                                                                         ,.
              *1st Floor: Z.Nc.-L            fJ'Le,                                     ·        t       u /' ~                < /2 oo 'l'z
               2nd Floor:       /!,ll,,9 • I tC.t-ttt!                              /JA- ·
               3rd Floor:

                    12f£-f11f' 4f I I I I Garage: I ;,{o bl I Garage Type: I I· I
         *Construction:                                                                                                                                                         I *Driveway (PTY-PVT-NJ:IPl<il                 \·d
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    .*Broker Agency Compensation: I I I I I I I I I Agency                If      D *Exclusions              ~ *Negotiate Direct        (Enter A Age~cy):                           (Yor NJ:                                   (Yor NJ:~

     Occupancy: LIi I I I I I I
  • Show Instructions: I C ~ l,. /2-i; N 6 'f< 6 , . _ B- 6 - 62 &3                      I Lockbox            B Owner Financing                                                         (Yor NJ:                                (Yor NJ:~




        (No Contact
        info, Status,
        etc.)

        Rent Income: I                I   I    I   I       I *Also For Rent                      (YorNJ:          D             Rental Price:       I               [TJ
         *Listing Broker Compensation (For Rental): I                                       I        I     I     I         j    I I I
        Items Excluded In Sale: /        I III IIIII I I I I I I I I I \ I I I I I I
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        *Supersedes (Yor NJ: D         Supersedes ML#: I I I I I· I I I • REO (Yor NJ: D Short Sale: D
        Broker'ope~ House Start DaTe: ·· 1·--r-r i---,' ' i .'( i ' ,-. 1--· I 8roker Operi H-0·use End tfate:[JJ--1.I 1 I I I I
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        Broker Open Ho~se Time: / I I I I I I                    I I I Broker Open House Note~ --==========-=============---
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  :, .. Consu~er Open House Start Date: I I ! I I t I I I I I C~nsumer Open House End.-D_at_e...:::\ ========================:'
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        Consumer Open House Time:~~~~-......_~~~~~~ Consumer Open House N o t e : ' - - - - - - ~ ~ - - - - - -


         Owner Signature            '¥) · rt tli' r                                 ~ ~ lJ. D£11,                                            Owner SignatureJ,,1/;.fL,;~                                            rfr>iJk'J
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        Home Phone
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Case 1-18-43118-ess   Doc 62   Filed 01/10/19   Entered 01/10/19 13:36:31
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               "List Price   .3,.,2..(f'EkD V                                                    .,
      /                                                                       LISTING AGREEMENT FOR REAL PROPERTY
                                                                                .     EXCLUSIVE RIGHT TO SELL                       .
                                         Commission Rates for the Sale, Lea~e or Management of Propcn/~ha:t ile-Nerc:itiatcd betw-:en the. BROKER' and the Owner
                                              .                    .                             EMPLOYMENT .··                   ··
           I. . The BROKER agrees to act as a special limited agent for the _Owner(s) fur !he sole purpusc of finding a Purcli,1ser and/or Tenant to buy and/or rent tl1e property described in
                  the PROPERTY DATA SEC11ON hereinafter called.PDS at the price and conditions set in ihe PDS.. The PDS is inclli'porated herein by reference.
           2. The parties agree that the BROKER represents the owner as seller's agent and shall cooperate with :ither licensed rc:il estate brokers who are Participant~ in the Multiple Listing
-·--·-:---.-,-._:.Service .qITongTs1,·tn~L!g.~n'."'nPMt_i~ g r.lrnt-- rc).J:tu..-.?~~~£k:n1JW~edgr.s...tlir RR ()K~ P... !.lµJSt.~por-,~r:ttc..v.'ith ;!gent..~.who.repre.~Ciff buyCis. · Such biiYCr's ·agCritS-
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                 reprcsent the-interests of the prospective buyers only. ·In additirn to cooperating with buyer's ,,)lents tlie mvner authorizes ·the BROKER to work with sellers agents and/or
                 _broker's agents as indicated by the compensation offered in" paragraph-6. The compensation to be paid to a cooperating broker representing a buyer should be inserted in
                 paragraph 6 of this agreement.
          3. :ll1e·Owner(s) authorizes the BROKER.to enter the infonnation set fm11i in the PDS, and any photographs, images, graphics and video recordings of the owner's property
                 whether taken by BROKER'S agent, supplied by owner or otherwise (listing content), into a listing content compilation owned by MLSLI. The Owner understands and agrees
                 that said compilation is exclusively owned by MLSLI who alone possesses the right to publish said compilation in any media fom1 it deems appropriate including, the World
                 Wide Web. MLSLI may license, sell, lease and commercially utilize its compilation. Among other uses MLSLI may license or sell the listing content to aggregators who will
                 aggregate the listing content and resell the same. Such aggregated. content shall not contain any personal infonnation about the owner other than ihe owner's name. If any
                 photograph, image·, graphics or video recordings were created by the owner and are delivered to BROKER fo~.use in the MLSLI compilation by virtue of such delivery and
                 the execution of this agreement the owner(s) hereby irrevocably assign and Transfers to BROKER any and all copyright rights and other intellectual property rights in the
               . foregoing.
          4. BROKER agrees to use its experience and knowledge to detem1ine the appropriate marketing plan for the property. The Owner(s) grants to the BROKER full discretion to
                 determine an appropriate marketing plan for the prnpcny.
          5. The owner shall not o·ffer nor show their property fl_.r sale or rent to any prospective buyers or tenanL~. bur shall refer all such prospective buyers or tenanL~ to the BROKER,
                nor shall the owner negotiate the sale or rental of the property with ·a bny,-.r unless the BROKER p;u:!l.cipates in such negotiations.
                                                                                               COMPENSATION.,,-,-                                       -
          6. A. ll1e Owner(s) hereby agrees to pay the BROKER a total commission in the an10unt of ,6_% of the selling price Or $_ _ _ or in the case of a rental by separate
                agreement. Said commission shall be shared with Coopcri\ting Brokers as follows:
                If the Cooperating Broker is a Seller's Agent ___% of the selling price Or $_ _ _.
                If the Cooperating Broker is a Broker's Agent ___% of the selling price Or $_ _ _.
                 If the Cooperating Broker is a Buyer's Agent _ _% of the selling price Or $_ _ _ .
                 B.Said total commission shall be earned and payable under any of the following conditions:
                 (a) If the BROKER or Cooperating Broker produces a buyer ready, willing and able to purchase the prnpeny on the terms and conditions set forth in the PDS;
                 (b) If through the BROKER's or Cooperating Broker's effmts a buyer and the owner(s) reach an agreement upon all the essential tenns of a transaction.
                 (cl.IT the property is sold or rented during the tenn of this Agreement whether or not the sale or rental is a result of the BROKER'S effo1ts mid even if the propeny is sold as a
                 resull of the efforts of the Owncr(s) or any other broker or agent not acting under this agreement.
                 (d) lf the BROKER or Cooperating Broker is the procuring cause of a transaction.
          7. The above compensation shall be paid to the BROKER in the event that lhe owner enters into a contract of sale to sell the property or actually sells the property within a period
                 of _____ days after the termination of the agreement to. any person (buyer) who has been shown the property during the term of this agreement. This paragraph shall
                 not apply if the Owner(s) ha~ in good faith relisted the properly with another broker after the expiration of U1is Agreement and prior to the conuncncemcnt of negotiations with
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                8. In the event the Owncr(s) signs a binder/contract of sale during lhe term of this employment agreement, the panics agree that the expiration date set forth below shall be extended
                   until the time that said contract of sale is fully perfom1ed or until such time as said contract fails to be pe1formed either by its terms or because of the default of one of the
                   pruties. Nothing herein contained is intended to reduce the tenn of this Agreement.                                                         .               . .
                9. 1l1e Owner(s) agrees at all times to act in good faith to assist the BROKER in the perfonnance of the BROKER'S obligations and to fully cooperate with the BROKER in the
                   BROKER'S efforts to !ind a buyer for the property and complete the transaction contemplated by this agreement ..
                                                                                    RENTAL OF THE PROPERTY
       10. Should the Owner(s) desire to rent the propc11y or any portion thereof during the term ofU1is agreem·ent, the parties shall modify this agreement so as to specify the runounl of'
              the rent desired by the Owner(s); the terms of the rental; the runount of commission to be paid to the BROKER.
       11. In the event the tenant purchases the real property described in the PDS during the term of the tenancy or during the occuRancy ofJ1el:umt wh"izsuch occupancy exceeds
              the original tenn, the Owncr(s) agrees to pay the BROKER the total commission set forth in paragraph hereo :'I                    _.J)....::..:.-    l/ /9jr91 tf'
                                                                                       TERM OF AGREEMEN'f.                          #\ /1 •CJ                      /
        12. This agreement shall commence ,_,n the dale set forth below and sh,rll tenninate at midnight on                I _.erv ( /
                                                                                  MlSCELLANEOUS PROVISI
        13. Any notices required to be given under this agreement shall be in writing and may be given to th<.: party          hand dcJiv,~1:, of such >1ot,~e. cunfimieu facsimile o. by certified or
             ordinruy mail.
       14. ALL ORAL OR PR !OR AGREEMENTS BETWEEN THE PARTIES ARE HEREBY MERGED INTO nns A(,REEMENT AND 11-lE PARTIES AGREE THAT THEIR
             RELATIONSHIP SHALL BE GOVERNED SOLELY BY THIS AGREEMENT AND NOT BY ANY OTJ-ff'.i( PRlOR ORA,, OR WR11TEN REPRF.SENTATIONS OR
             AGREEMENTS. The pru1ies agree that no change, amendment, modification or tcm1ination of this agreemeut sli,.ll be binding on any party unless the same shall be in writing
             ru1d signed by the parties hereto subsequent to the date of this agreement.                                             ·
       15. ll1e Owner(s) understands and agrees that neither the Long Island Board of Realtors,.Tnc. nor the MLSLI arc panics to this agreement and that the BROKER is nut an agent
             for either of said organizations ru1d has no authority to make any representation, agreement or commitment with respect to either i•f sairl corporations other than those contained
             in the printed portions hereof.
                                                                                             ARBITRATION
       16. Any dispute between the parties arising out of this agreement where the amount in dispute exceeds small claims cmirt monet11~· jurisdictk,n sl1all be resolved by arbitration
             before one arbitrator.' This paragraph shall not apply if all of the pruties to such dispute are REALTORS. ll1e arbitration shall be held in the county in ·,vhich the real estate,
             which is the subject rnatler of this agreement, is located. ll1e arbitration shall be governed by the rules of the Natiomil Arbitration and Mediation and judgment on the award
             rendered by the arbitrator may be entered in any court having jurisdiction thereof. Nothing herein contained is intt'nded to deny any Pruty from applying to the Comts for
             iajunctive relief such as_ is.provided in CPLR 2701.                                                                                                                            ·
                                                                                ESCROW AND RECOVERY OF FEES
       17. 1f. for anv rea.~on. the BROKER is not paid the compensation set forth herein on the due date or there is a dispute concerning the payment of all. or pan q(sai~_comp()nsation,
             the Owner(s) shall deposit with thd:.uiig-lsl,;nd-B1Yutd·of Realtors;foc:--J.ihiinounl-cqtml lo timcompcnsation sel fvfth ln::n:inur !\it:: Jispuled amount, as the case may be. lf the
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             Owner's attorney is holding money in an escrow account to which tl1e Owner is entitled, or over which the Owner has control, tht: Owner shall direct the attorney and the
             altoniey shall be required to niake the deposit herein required to the extent of such monies. Absent a non-appealable coui1 order to the contrmy the attorney shall not release
             sail.! deposit to.ru1y party. The said monies shall be held by U1e Long faland Bmu·d of Realtors, Inc. or other escrowe<! in escrow until the parties' rights to the escrow monies
           · have been detennined (i) by the wrillen agreement of the parties, (ii) by an award of an arbitrntor, (iii) by judgment or (iv) by some other process to which the pmties agree in
             writing .In any action, proceeding or arbitration to enforce llilY provision of this Agreement, including but not limited to the above escrow provision, or for damages caused hy
             default, the prevailing pruty shall be entitled to reasonable attorney's fees, costs and related expenses, such a~ expert witness fees, fees paid to investigators, fees paid to
             arbitration tribunals and arbitrator's fees. Paragraphs 17 and 18 hereof shall be deemed to be incorporated into the tenns of any contract of sale executed by the Owner(s) with
             a buyer/1enaJ1l procured by BROKER, or a cooperating broker in their p<;1fonnance of this agreement.
                                                                                               INDEMNITY
       I~- In the event any claim or action is commenced against the BROKER or a cooperating broker a~ a result of th.:, BROKER or cooperating broker obeying the lawful instructions
             of the Owncr(s), then, ru1d in sur.h event, the Owner(s) hereby agrees lo defend, indemnify ,,nd hold harmless the BRCKER or cooperating broker in any such claim or action.
             Owner shall have the right to select counsel in such event, subject to the approval of the BROKER ru1d/or coopcrnting broker, which approval shall not be unreasonably
             withheld.
       19. With respect 10 the provisions of rhis agreement relaring to compensation, (Pru·agraph 6) esr.row a1!d recovc1y of foes. (paragrnph 17) and imknmity (Paragraph 18) cooperating
             brokers shall be third pmty beneficiaries of this agreement.                                                                                                     ·
                                                                              PROPERTY CONDITION DISCLOSURE
       20. 1lie Seller is required by law to complete mid sign a Property Condition Disclosure Statement m1t.l cause it, or a cop:· thereof, to be delivered to a buyer or buyer's agent prior
             to the signing by the buyer of a binding contract of sale.
       21. A copy of the Propcr1y Condition disclosure Statement containing tlie signatures of both the buyer and the seller must be attached to the real eslale purchase contract.                  .
       22. Ir prior to dosing or possession by the buyer the sellcr·acquires knowledge whi~h renders rnalerially inaccurate a Property Condition Disclosure Statement previously provided,
              the seller must deliver n revised Property Condition Disclosure Siatement to the buyer as soon a.~ practicable.             ·
       23. ff the seller fails to so deliver a Property Condition Disclosur!! Statement, tlie buyer will be entitled to a credit in the amount of $500 against the purchase price of the property
             upon the transfer of title.
                                                                                            EXPLANATIONS
       24. An "EXCLUSIVE RIGHT TO SELL" listing means that if you, the Owner(s) of the property find a buyer for your house, or if another broker finds a buyer, you must pay the
             agreed commis8ion to the present broker.            .                                              .
       25. An "EXCLUSIVE AGENCY" listing means tluit if you, Um Owner(s) of the prore1ty find a buyer, you will not have to pay a commission to the broke1; However, if.another
             broker finds a buyer, you will owe a commission 10 both the selling broker and your present broker.
                                                                               EQUAL OPPORTUNITY IN HOUSING
       26. The parties agree that the above !isled property is to be marketed in compliance with all Federal, State, Municipal and Local Laws concerning discrimination in h~usin?.
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                 broker.             _>,_        ;                                        /.J/) J/J J{7           j)Q (// 'cl -       m_,          •
                Owner Signature   ..J.,--'tJ? //                                         (./-: U fL t/11 OwnerSignalure --'-,.--hLl..<f-.:~'-"='-'="'----..1£==----'=-==------
                Address / / /     -','.S '/",,BD v7'/- sr- .·~ u.F/4l tJ-r.'i) ~                                              Email Address


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Case 1-18-43118-ess   Doc 62   Filed 01/10/19   Entered 01/10/19 13:36:31
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